    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 1 of 12 PageID #:61




114.7700K

                      IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TYANNE FONZA as next friend of T.G.,
                                  )
a minor,                          )
                                  )
                      Plaintiff,  )
                                  )
v.                                )                   No. 17-CV-3571
                                  )
                                  )                   Judge Joan B. Gottschall
CHICAGO PUBLIC SCHOOLS DISTRICT )
#299, KIPP CHICAGO SCHOOLS, ELLEN )
DAVIS-BHATTACHARYYA, TESSA        )                   Magistrate Judge Jeffrey Gilbert
CATLETT, MICHAEL ELLIOTT, and     )
CORRINE HALL,                     )
                                  )
                      Defendants. )

          DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) AND 12(E)

       Defendants, KIPP CHICAGO SCHOOLS (“KIPP”); ASHLEY HALL, incorrectly sued as

CORRINE HALL; MICHAEL ELLIOT; ELLEN DAVIS-BHATTACHARYYA, TESSA

CATLETT; and BOARD OF EDUCATION OF CITY OF CHICAGO, incorrectly sued as

CHICAGO PUBLIC SCHOOL DISTRICT #299, (“BOARD”), by and through their attorneys,

ESP KREUZER CORES LLP, and for their Motion to Dismiss Plaintiff’s Complaint pursuant to

Federal Rule of Civil Procedure 12(b)(6) and 12(e), state as follows:

                                         INTRODUCTION

       1.      Plaintiff’s Complaint is essentially a personal injury case which Plaintiff is

improperly attempting to disguise as a Constitutional suit. As a result, Plaintiff has failed to state

actionable claims in Counts I through IV pursuant to Federal Rule of Civil Procedure 12(b)(6).

Plaintiff has also failed to specifically allege a claim to which Defendants may respond in Count



                                                  1
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 2 of 12 PageID #:62




IV, necessitating a more definite statement pursuant to Federal Rule of Civil Procedure 12(e).

Thus, Plaintiff’s Complaint should be dismissed.

                                           PLEADINGS

       2.      On May 11, 2017, Plaintiff filed her four (4) count Complaint at Law against

Defendants, seeking to recover for personal injury that her minor sustained when she fell from a

height while on a playground. (Dkt #1 at ¶15). Plaintiff alleges that her minor fell from

monkeybars. (Dkt #1 at ¶15). The gravamen of Plaintiff’s complaint is that Defendants negligently

failed to timely call for medical assistance for her minor, failed to timely provide medical aid to

her minor, and failed to warn the minor of the potential dangers posed by falling from the

playground equipment. (Dkt #1 at ¶¶43, 51, 55)

       3.      Count I sounds in violation of 42 U.S.C. § 1983 by allegedly failing to provide

medical care to her minor. (Dkt #1 at ¶¶30-36). Count II sounds in violation of 42 U.S.C. § 1983

by allegedly exhibiting deliberate indifference to the minor’s health and safety. (Dkt #1 at ¶¶37-

44). Count III sounds in violation of 42 U.S.C. § 1983 by allegedly depriving her of due process

rights to be free from a purported state-created danger. (Dkt #1 at ¶¶45-52). Count IV sounds in

“negligence – willful and wanton.” (Dkt #1 at ¶¶53-59).

                           LAW ON MOTION TO DISMISS 12(b)(6)

       4.      A motion under Rule 12(b)(6) challenges a complaint’s sufficiency to state a claim

upon which relief may be granted. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). In

considering a Rule 12(b)(6) motion, the Court accepts as true all of the allegations in the complaint

and draws all reasonable inferences in favor of plaintiff. Id. A federal complaint should be “a short

and plain statement of the claim showing the pleader is entitled to relief.” Fed.R.Civ.P. 8(a)(2).

But however short and plain, it must contain sufficient detail to “give the defendant fair notice of



                                                 2
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 3 of 12 PageID #:63




what the claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 554. The factual

allegations “must be enough to raise a right to relief above the speculative level.” Id. Factual

allegations, but not legal conclusions, are assumed to be true. Ashcroft v. Iqbal, 556 U.S. 662, 678-

79 (2009). Additionally, Federal Rule of Civil Procedure 8 requires that a plaintiff give defendants

fair notice of the claims against them as well as the grounds supporting those claims. Fed. R. Civ.

P. 8(a). Plaintiff’s should “disaggregate their claims into separate claims when “doing so would

promote clarity.” Eilefeldt v. United C.U.S.D. #304 Board of Educ., 30 F.Supp.3d 780, 787

(C.D.Ill.2014).

                                            ARGUMENT

       I.   PLAINTIFF’S COMPLAINT FAILS TO STATE A CAUSE
            OF ACTION UNDER F.R.C.P. 12(b)(6)

       5.         Section 1983 of the Civil Rights Act (“§ 1983”) creates “no substantive rights of

its own, but rather is a remedial statute imposing liability upon those who, under color of state law,

work a deprivation upon a person’s rights, privileges or immunities otherwise granted by the

Constitution and law of the United States.” (internal citation omitted). Calhoun v. Illinois State

Bd. Of Educ., et al., 550 F.Supp. 796, 803 (N.D.Ill.1983).

       6.         “To state a claim under § 1983, a plaintiff must allege that (1) some individual

deprived her of a federally protected right; and (2) the individual who deprived her of that right

acted under color of state law.” Eilefeldt, 30 F.Supp.3d 780, 788 (C.D.Ill.2014). In order to plead

a cause of action under § 1983, plaintiff must sufficiently plead a cause of action for a

Constitutional right plaintiff was deprived of, not merely allege a violation of § 1983. Carter v.

Bennett, 395 F.Supp.2d 745, 747 (2005).

                  A.     INSUFFICIENT        FACTS      TO     PLEAD       MONELL
                         LIABILITY

       7.         In order to sue a local governing body, the action that is alleged to be

                                                  3
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 4 of 12 PageID #:64




unconstitutional must “implement[] or execute[] a policy statement, ordinance, regulation, or

decision officially adopted or promulgated by those whose edicts or acts may fairly be said to

represent official policy.” Monell v. Department of Social Services of City of New York, 436 U.S.

658, 659, 98 S. Ct. 2018 (1978). The “language and legislative history of § 1983 compel the

conclusion that Congress did not intend a local government to be held liable solely because it

employs a tort-feasor – in other words, a local government cannot be held liable under § 1983 on

a respondeat superior theory.” Id.

       8.      In Darchak v. City of Chicago Bd. of Educ., the Seventh Circuit applied Monell to

defeat the plaintiff’s claim for retaliation under § 1983. 580 F.3d 622, 629 (7th Cir. 2009). In

Darchak a Polish bilingual probationary appointed teacher filed suit against the City of Chicago

Board of Education after her one-year contract was not renewed. Id. The court held that in order

for plaintiff’s claim to succeed, “she must present evidence that the Board itself violated her civil

rights. Municipal agencies can be found liable under § 1983 for violating a plaintiff’s civil rights

through ‘(1) an express municipal policy; (2) a widespread practice constituting custom or usage;

or (3) a constitutional injury caused or ratified by a person with final policymaking authority.’”

(internal citations omitted) Id. The court found that “liability requires more than the fact that a

low-level supervisor took some action that was not later reversed by a policymaker.” Id. at 630.

       9.      In this case, Plaintiff has failed to allege sufficient facts to establish that the

BOARD and KIPP implemented or executed an express policy statement, ordinance, regulation,

or decision, officially adopted or promulgated by those whose edicts or acts may fairly be said to

represent official policy, that violated her minor’s civil rights. Plaintiff has failed to allege

sufficient facts to establish that BOARD and KIPP had a widespread practice that amounted to

custom or usage, which violated her minor’s civil rights. Plaintiff has failed to allege sufficient



                                                 4
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 5 of 12 PageID #:65




facts to establish that persons with final policymaking authority from BOARD and KIPP caused a

purported constitutional injury. Plaintiff has failed to allege sufficient facts to establish that

persons with final policymaking authority from BOARD and KIPP ratified any conduct that

purported resulted in a constitutional injury. Dismissal is appropriate.

               B.      INSUFFICIENT FACTS TO PLEAD VIOLATION OF
                       CIVIL RIGHTS BY ALLEGED FAILURE TO PROVIDE
                       THE MINOR WITH MEDICAL CARE

       10.     Counts I of Plaintiff’s complaint attempts to state a cause of action for purported

violation of rights under the Eighth Amendment of the United States Constitution. See Estelle v.

Gamble, 429 U.S. 97 (1976). “To state a cause of action under the eighth amendment for failure

to provide medical care, “a plaintiff must show (1) an objectively serious medical condition to

which (2) a state official was deliberately, that is subjectively, indifferent.” Duckworth v. Ahmad,

532 F.3d 675, 679 (7th Cir. 2008).

       11.     The cases that address whether a complaint sufficiently pleads a cause of action

under the Eighth Amendment are cases involving the government seizing and exercising custody

over persons, where the persons are no longer free to obtain medical care for themselves, primarily

in the context of prisoner rights. Eighth Amendment analysis examines whether the government

sought to impose cruel and unusual punishment by withholding medical care. See Estelle, 429 U.S.

97 (1976); Duckworth, 532 F.3d 675 (7th Cir. 2008); Gutierrez, 111 F.3d 1364 (7th Circ. 1987);

Lynch v. Cannatella, 810 F.2d 1363 (5th Cir. 1987). Furthermore, the allegations of the Complaint

do not involve the infliction of any punishment. Thus, Count I of Plaintiff’s Complaint should be

dismissed.

               C.      INSUFFICIENT FACTS TO PLEAD VIOLATION OF
                       ALLEGED DUE PROCESS RIGHTS

       12.     Counts II and III of Plaintiff’s Complaint attempt to assert violations of alleged due


                                                 5
     Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 6 of 12 PageID #:66




process rights.      In order for a plaintiff to plead a violation of substantive due process (the

Fourteenth Amendment), there are three (3) elements that must be met. Matthews v. Eldridge, 424

U.S. 319 (1976). First, there must be a deprivation, second, it must be of life, liberty or property,

and third, it must be shown that the government did not have an adequate justification for its action.

Id. Plaintiff must plead a “cognizable ‘life, liberty, or property’ interest.” Eilefeldt, 30 F.Supp.3d

780, 789 (2014). Absent the encroachment of a fundamental right, Plaintiff must plead that

defendants’ actions were arbitrary or irrational. Id. “Personal involvement of a defendant in an

alleged constitutional deprivation is a ‘prerequisite to an award of damages under § 1983.’” Morris,

282 F.Supp.2d 196, 202-03 (citing Williams v. Smith, 781 F.2d 319, 323 (2d Circ. 1986).

        13.       To state a cause of action under a “state-created danger” theory of substantive due

process, the “plaintiff must plead facts showing an affirmative act on the state’s part that either

created the danger or rendered him more vulnerable to an existing danger.” Lewis E. v. Spangnolo,

186 Ill.2d 198, 220, 710 N.E.2d 978 (1999). “Mere inaction by state actors, even in the face of

known danger, is not sufficient to trigger an affirmative duty on the party of the state under this

theory.” Id. The state “must therefore affirmatively put private individuals in harm’s way,

effectively throwing them ‘into a snake pit.’” Brown v. Reyes, 815 F.Supp.2d 1018, 1022

(N.D.Ill.2011). The court must examine what actions the state affirmatively took and what danger

the victim would have otherwise faced. Id. “In other words, affirmatively creating a dangerous

situation will trigger a constitutional duty to protect, but negligently failing to react to a potentially

dangerous situation or sitting idly by does not.” Id. at 1023.

        14.       United States Courts have long held that,

                         The [Due Process] Clause is phrased as a limitation on the
                         State’s power to act, not as a guarantee of certain minimal
                         levels of safety and security. It forbids the State itself to
                         deprive individuals of life, liberty, or property without

                                                    6
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 7 of 12 PageID #:67




                        ‘due process of law,’ but its language cannot fairly be
                        extended to impose an affirmative obligation on the State
                        to ensure that those interests do not come to harm through
                        other means.

Spady v. Bethlehem Area School Dist., 800 F.3d 633, 642 (3rd Cir. 2015)(quoting Deshaney v.

Winnebago Cnty. Dep’t of Soc. Servs., 489 U.S. 189, 195, 109 S.Ct. 998 (1989)(Emphasis added);

D.S. v. East Porter County School Corp., 799 F.3d 793, 798 (7th Cir. 2015)(Explaining that the

Due Process Clause limits the state’s power to act, but does not act “as a guarantee of certain

minimal safety and security.”).

        15.     In Spady v. Bethlehem Area School Dist., a fifteen-year-old student died from

“secondary” or “delayed” drowning hours after complaining to his gym teacher that his chest hurt

when he was subdued in water during swim class in physical education. 800 F.3d at 636. The P.E.

teacher was aware the student could not swim. Id. The Third Circuit found, although tragic, the

gym teacher’s failure to assess the student for dry drowning after briefly going under water did not

violate the student’s constitutional right to “bodily integrity free from unwanted intrusions by the

state.” Id. at 640. Thus, the student did not have a “clearly established constitutional right to dry-

drowning intervention protocols while participating in P.E. class.” Id. at 641. The Third Circuit

based its ruling on other courts that addressed injuries caused by public-school teachers.

        16.     The plaintiff in Spady argued that the case implicated a student’s constitutional

right to be free from school officials’ deliberate indifference to, or acts that increase the risk of,

serious injury from unjustified invasions of bodily integrity. Id. The court, however, opined that

courts are “not to define clearly established law at a high level of generality.” Id. Instead, courts

“must define the right allegedly violated at the appropriate level of specificity. Id. (see also Walters

v. Village of Oak Lawn, 548 F.Supp. 417, 419 (N.D. Ill. 1982) (holding that rights which derive

solely from state law are not actionable under §1983)). The court further opined that “[a]ccepting

                                                   7
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 8 of 12 PageID #:68




Spady’s broad version of the right at issue ‘would . . . convert the rule of qualified immunity that

our cases plainly establish into a rule of virtually unqualified liability simply by alleging violation

of extremely abstract rights.’” (internal citations omitted) Id. The court framed the specific

constitutional right in Spady as the “right to affirmative intervention by the state actor to minimize

the risk of secondary drowning or dry drowning. And for qualified immunity purposes, the

question is whether the law in this context is so well-established that it would have been apparent

to a reasonable gym teacher that failure to take action to assess a non-apparent condition that placed

the student in mortal danger violated that student’s constitutional right under the state-created-

danger theory of liability. Id. at 639-9.

        17.     In order for a right to be clearly established, there must be applicable precedent

from the Supreme Court. Id. at 639. Although a case need not be directly on point, there must be

existing precedent that placed the constitutional question beyond debate. Id. The court in Spady

found that no Supreme Court case had established a right to adequate safety protocols during

public-swimming class or in any analogous setting. Id. In a school setting, courts have only found

constitutional violations where state actors engaged in “patently egregious and intentional

misconduct” including a case where a coach struck a student with a blunt object, knocking out his

left eye. Id. at 641 (citing Neal ex rel. Neal v. Fulton County Board of Education, 229 F.3d 1069,

1076 (11th Circ. 2000). There was no precedent whereby a reasonable gym teacher would have

been aware that his actions were unconstitutional. Id. at 641.

        18.     In Nix v. Franklin Cnty. Sch. Dist., the Eleventh Circuit dealt with the theory of

“deliberate indifference” when a student died after touching exposed high-voltage wire during

science class. 311 F.3d 1373 (11th Cir. 2002). The Eleventh Circuit held that “schoolchildren are

not in a custodial relationship with the state.” (internal citations omitted) Id. 1378. The Eleventh



                                                  8
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 9 of 12 PageID #:69




Circuit further opined that “[o]nly in the limited context of due-process claims based on excessive

corporal punishment has this court held that intentional conduct of a high-school educator may

shock the conscience.” Id. The Eleventh Circuit articulated two (2) principles regarding the due

process rights of students: (1) “generally, those individuals not in state custody will have no due-

process claim for unsafe conditions; and (2) specifically, in a classroom setting, courts have not

allowed due process liability for deliberate indifference, and moreover, will only allow recovery

for intentional conduct under limited circumstances.” Id. In Nix, the court found that the Plaintiff’s

allegations of “deliberate indifference” did not “shock the conscience” to give rise to a due-process

violation. Id.; see also Voorhies v. Conroe Ind. Sch. Dist., 610 F.Supp. 868, 873

(S.D.Tex.1985)(holding no constitutional claim where shop teacher removed safety guard on a

power saw causing student to severely lacerate hand).

       19.     In this case, Counts II and III of Plaintiff’s Complaint fail to state a cause of action

for violation of due process rights. Plaintiff’s minor was not in a “custodial” relationship with

Defendants. Furthermore, Defendants actions did not rise to the level of “conscious-shocking.”

Defendants did not engage in conduct that put Plaintiff’s minor in harm’s way, effectively

throwing her “into a snake pit.” Defendants did not affirmatively create any danger imposed by

the playground equipment, and negligently failing to react to a dangerous situation is insufficient

to sustain a cause of action of state-created danger. Plaintiff’s minor did not have a “clearly

established constitutional right” to recess equipment intervention.

       20.     No Supreme Court case has established a right to adequate safety protocols during

public-school recess. Plaintiff’s claim is a thinly veiled complaint for negligence. Counts II and

III of Plaintiff’s Complaint are thinly-veiled negligence actions. Plaintiff has failed to allege

sufficient facts to establish a violation of any constitutionally protected rights. Dismissal is



                                                  9
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 10 of 12 PageID #:70




appropriate.

       III. THE TORT IMMUNITY ACT APPLIES TO BAR COUNT IV

       21.     As to Count IV of Plaintiff’s Complaint, which sounds in Negligence-Willful and

Wanton, Section 2-201 of the Illinois Tort Immunity Act states, “[e]xcept as otherwise provided

by Statute, a public employee serving in a position involving the determination of policy or the

exercise of discretion is not liable for an injury resulting from his act or omission in determining

policy when acting in the exercise of such discretion even though abused.” 745 ILCS 10/2-201

(eff. Aug. 13, 1965). There is no exception for willful and wanton conduct under section 2-201.

Eilefeldt, 30 F.Supp.3d at 787.

       22.     In Eilefeldt v. United C.U.S.D. #304 Board of Educ., the court found that the

defendants’ acts and omissions in handling bullying incidents were both policy determinations and

exercises of discretion. 30 F.Supp.3d at 792. In that case, a male student reported numerous

instances of bullying during his seventh and eighth grade year at United Junior High School. Id. at

784. The student allegedly suffered physical pain and mental anguish after school officials failed

to address the bullying after numerous meetings with school officials regarding said bullying. Id.

at 785. The court found that the defendants were immune from tort claims under the Illinois Tort

Immunity Act because handling bullying including policy decisions and discretion. Id. at 792.

       23.     In this case, Plaintiff claims that she was not warned of the danger of the playground

and was not given proper medical treatment following her alleged injury. Decisions on how to

handle procedures at recess and how to address the healthcare needs of a student are policy

decisions and involve discretion. Thus, The Illinois Tort Immunity Act provides absolute

immunity to the defendants in this case.




                                                10
    Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 11 of 12 PageID #:71




       IV.     COUNT IV FAILES TO SEGREGATE CLAIMS AND REQUIRES
               A MORE DEFINITITE STATEMENT UNDER RULE 12(E)

       24.     Additionally, within Count IV, Plaintiff confusingly combines a “Negligence”

claim and a “Willful and Wanton” claim. These claims are separate and distinct and must be plead

separately. There are various immunities available to defendants under the Illinois Tort Immunity

Act. See 745 ILCS 10/1-101 through 745 ILCS 10/3-108. The immunities available to Defendants

are different for “Negligence” and “Willful and Wanton.” Thus, Count IV requires a more definite

statement pursuant to Federal Rule of Civil Procedure 12(e). Defendants cannot fully answer or

otherwise respond to Count IV as written.

             V. PLAINTIFF IS NOT ENTITLED TO SEEK PUNITIVE DAMAGES

       25.     Pursuant to § 1983, a municipality, including a school district/board, is not subject

to punitive damages. Eilefeldt, 30 F.Supp.3d at 789. In Eilefeldt, the Court dismissed Plaintiff’s

claim for punitive damages because the School District was not subject to punitive damages under

§ 1983. Similarly, under § 2-102 of the Illinois Tort Immunity Act, “a local public entity is not

liable to pay punitive damages in any action…” 745 ILCS 10/2-102 (eff. Aug. 13, 1965) “In

addition, no public official is liable to pay punitive or exemplary damages in any action…” Id.

       26.     In this case, each of Plaintiff’s four (4) counts prays for punitive damages. It is

appropriate to strike the prayers for punitive damages.

                                           CONCLUSION

       27.     It is appropriate to dismiss Plaintiff’s Complaint in its entirety. Plaintiff fails to state

a cause of action in Counts I through III that would entitle her to relief under § 1983. Plaintiff’s

Complaint is nothing more than a thinly veiled tort claim. Plaintiff’s minor was not in a custodial

relationship with Defendants. The alleged acts and omission do not “shock the conscience.”

Plaintiff’s Complaint must also fail procedurally. Plaintiff failed to properly segregate her claims

                                                   11
   Case: 1:17-cv-03571 Document #: 30 Filed: 08/03/17 Page 12 of 12 PageID #:72




as to each Defendant and failed to segregate her claims for “Negligence” and “Willful and

Wanton.” Moreover, Section 2-201 of the Illinois Tort Immunity Act applies to bar Plaintiff’s

count for “negligence – willful and wanton.” Lastly, it is appropriate to strike the prayers for

punitive damages in Counts I through IV.

       WHEREFORE, Defendants, KIPP CHICAGO SCHOOLS, ASHLEY HALL, MICHAEL

ELLIOT, ELLEN DAVIS-BHATTACHARYYA, TESSA CATLETT, and BOARD pray that this

Honorable Court enter an order dismissing PLAINTIFF, TYANNE FONZA as next friend of T.G.,

a minor, Complaint’s with prejudice.

                                            By:     /s/ Shanna Crafts
                                                    One of Defendants’ Attorneys


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                                              12
